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AO 470 (Rev. 01/09) Order Scheduling a Detention Hearing



                                      UNITED STATES DISTRICT COURT
                                                                for the
                                                           District of Nevada


                  United States of America                         )
                             v.                                    )      Case No. 2:21-mj-00856-NJK
                                                                   )
             DENISE DANIELLE PICCIONE                              )
                             Defendant                             )




                                         ORDER SCHEDULING A DETENTION HEARING




          A detention hearing in this case is scheduled as follows:

          Lloyd D. George United States Courthouse
Place:                                                                    Courtroom No.:      3C
          333 Las Vegas Blvd., South
          Las Vegas, NV 89101
          before: Magistrate Judge Nancy J. Koppe.                        Date and Time:      October 14, 2021, at 3:00 PM

        IT IS ORDERED: Pending the hearing, the defendant is to be detained in the custody of the United States
marshal or any other authorized officer. The custodian must bring the defendant to the hearing at the time, date, and
place set forth above.




Date:       October 13, 2021
                                                                                             Judge’s signature



                                                                           NANCY J. KOPPE, United States Magistrate Judge
                                                                                           Printed name and title




                         OCT 13, 2021
